Case 17-03546        Doc 34     Filed 05/25/17     Entered 05/25/17 14:03:23          Desc      Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 17-03546
         Randolph E Mealer
         Tracey L Mealer
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/07/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 05/16/2017.

         6) Number of months from filing to last payment: 1.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $39,185.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 17-03546       Doc 34    Filed 05/25/17     Entered 05/25/17 14:03:23              Desc          Page 2
                                                of 3



 Receipts:

        Total paid by or on behalf of the debtor               $820.00
        Less amount refunded to debtor                         $269.82

 NET RECEIPTS:                                                                                   $550.18


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                              $0.00
     Court Costs                                                        $0.00
     Trustee Expenses & Compensation                                   $40.18
     Other                                                              $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $40.18

 Attorney fees paid and disclosed by debtor:                 $0.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim        Claim         Principal        Int.
 Name                             Class    Scheduled      Asserted     Allowed          Paid           Paid
 CONNEXUS CREDIT UNION        Secured        17,263.00            NA             NA        510.00          0.00
 BARB AND ERNEST MINNER       Unsecured       3,000.00            NA             NA           0.00         0.00
 CAPITAL ONE                  Unsecured       1,807.00            NA             NA           0.00         0.00
 CHASE                        Unsecured       6,634.00            NA             NA           0.00         0.00
 CHICAGO DEPT OF FINANCE      Unsecured       1,294.00            NA             NA           0.00         0.00
 COMED                        Unsecured          465.00           NA             NA           0.00         0.00
 DISCOVER                     Unsecured       5,993.00            NA             NA           0.00         0.00
 FINGERHUT                    Unsecured          100.00           NA             NA           0.00         0.00
 HARTFORD FINANCIAL           Unsecured           97.00           NA             NA           0.00         0.00
 JEFFREY LARSON               Unsecured       2,500.00            NA             NA           0.00         0.00
 METRO FCU                    Unsecured       1,312.00            NA             NA           0.00         0.00
 NICOR                        Unsecured          353.00           NA             NA           0.00         0.00
 ORTHOLLINOIS                 Unsecured          186.00           NA             NA           0.00         0.00
 PUBLISHERS CLEARING HOUSE    Unsecured           69.00           NA             NA           0.00         0.00
 SYNCB                        Unsecured          123.00           NA             NA           0.00         0.00
 VILLAGE OF FOX RIVER GROVE   Unsecured          100.00           NA             NA           0.00         0.00
 VISA                         Unsecured       1,427.00            NA             NA           0.00         0.00
 VISTA MEDICAL CENTER EAST    Unsecured       3,929.00            NA             NA           0.00         0.00
 WEBBANK FINGERHUT            Unsecured       1,465.00            NA             NA           0.00         0.00
 SELECT PORTFOLIO SERVICING   Secured        19,900.00            NA             NA           0.00         0.00
 SELECT PORTFOLIO SERVICING   Secured              0.00           NA             NA           0.00         0.00




UST Form 101-13-FR-S (9/1/2009)
Case 17-03546        Doc 34      Filed 05/25/17     Entered 05/25/17 14:03:23              Desc    Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00             $0.00              $0.00
       Mortgage Arrearage                                      $0.00             $0.00              $0.00
       Debt Secured by Vehicle                                 $0.00           $510.00              $0.00
       All Other Secured                                       $0.00             $0.00              $0.00
 TOTAL SECURED:                                                $0.00           $510.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00               $0.00            $0.00


 Disbursements:

         Expenses of Administration                                $40.18
         Disbursements to Creditors                               $510.00

 TOTAL DISBURSEMENTS :                                                                         $550.18


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 05/25/2017                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
